     Case
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 5    jim@oronozlawyers.com
 6    Attorney for Danny Goodman

 7                            UNITED STATES DISTRICT COURT
 8                                   DISTRICT OF NEVADA
 9
                                                       )
10                                                     )
      UNITED STATES OF AMERICA,                        )
11                                                     )   2:15-CR-286-LDG-NJK
                     Plaintiff,                        )
12                                                     )   STIPULATION TO MODIFY
                     vs.                               )   DEFENDANT GOODMAN’S
13                                                     )   CODITIONS OF PRETRIAL
      DANNY GOODMAN et al,                             )
                                                       )   RELEASE
14
                     Defendant.                        )
15                                                     )
                                                       )
16                                                     )

17           IT IS HEREBY STIPULATED AND AGREED, by and between KATHRYN
18    NEWMAN, Assistant United States Attorney, and JAMES ORONOZ, ESQ., counsel for
19
      Defendant, DANNY GOODMAN, that Mr. Goodman should no longer be subjected to
20
      location monitoring.
21
22           This Stipulation is entered into for the following reasons:
      ///
23
      ///
24
25    ///

26    ///
27
      ///
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      ///

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     Case
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 1       1. Under 18 U.S.C. § 3142, the Court has the discretion to set the conditions of a
            defendant’s release pending trial.
 2
 3       2. On October 19, 2015, during Goodman’s detention hearing, pretrial services
            indicated that they were unable to verify the information they received from
 4          Goodman regarding his residence. That same day, the Court imposed several
            conditions for Goodman’s pretrial release [Doc. #35]. One of the conditions the
 5          Court imposed upon Goodman was location monitoring.
 6
         3. Both parties have recently spoken to Samira Barlow (“Barlow”) who is an
 7          employee of pretrial services. Barlow confirmed that she was able to verify
            Goodman’s residence. Additionally, Barlow has indicated that she does not object
 8
            to releasing Goodman from location monitoring.
 9
         4. At the detention hearing, the Government asked the Court to impose location
10          monitoring because pretrial services could not verify the information Goodman
            had provided regarding his residence. However, now that his residence has been
11
            verified, the Government has no objection to releasing Goodman from location
12          monitoring.

13       5. Given the foregoing, the parties stipulate that Goodman should no longer be
            subjected to the pretrial release condition of location monitoring.
14
15          DATED: November 6, 2015.

16
      x/s/ James Oronoz      x                           x/s/ Kathryn Newman              x
17    JAMES A. ORONOZ, ESQ.                              KATHRYN NEWMAN
18    700 South Third Street                             Assistant United States Attorney
      Las Vegas, NV 89101                                333 Las Vegas Blvd. South, #5000
19    Counsel for Danny Goodman                          Las Vegas, NV 89101
                                                         Counsel for United States
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 1                             UNITED STATES DISTRICT COURT
 2                                    DISTRICT OF NEVADA
 3
                                                        )
 4                                                      )
      UNITED STATES OF AMERICA,                         )
 5                                                      ) 2:15-CR-286-LDG-NJK
                      Plaintiff,                        )
 6                                                      )
                      vs.                               ) ORDER
 7                                                      )
      DANNY GOODMAN et al,                              )
 8                                                      )
                      Defendant.                        )
 9                                                      )
                                                        )
10                                                      )

11
             IT IS THEREFORE ORDERED that the Defendant Danny Goodman is no longer
12
13    subject to the pretrial release condition of location monitoring.

14           DATED: November 9, 2015
15
             DATED AND DONE this _____ day of __________, 2015.
16
17
                                                          ________________________________
                                                          ______________
                                                                       _ ______________________
18
                                                          UNITED  STATES
                                                          United States     gDISTRICT
                                                                        Magistrate
                                                                        Maagi istraatte    JUDGE
                                                                                      e Judge
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